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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

GUS HOREMIS,                  )                  No. 08 C 603 (and 08 C 2988, based
     Plaintiff,               )                  upon the instant request for a
                              )                  determination of relatedness)
                              )
v.                            )                  Judge Norgle
                              )
THOMAS BILLICK, COOK COUNTY )                    Jury Demanded
ASSISTANT STATES ATTORNEY, et )
al.,                          )
     Defendants.              )

            MOTION TO CONSOLIDATE BASED UPON RELATEDNESS

       NOW COME some of the defendants in the above-captioned case, Frank

Kaminski, Sam Pettineo and James Elliott, along with Jeff Jamraz, Bob Mayer, Richard

Eddington, Demetrius Cook and the City of Evanston, a municipal corporation

(hereinafter the “Evanston defendants”), by their attorneys, Richard T. Ryan and Mark F.

Smolens, Ryan, Smolens & Jones, and pursuant to the provisions of Local Rule 40.4,

move this Honorable Court request the Executive Committee to reassign case number 08

C 2988, Michael Yorty v. Guillermo Perez, et al., now pending before this Court with

Judge Hart presiding, to the calendar of this Honorable Court based upon relatedness. In

support thereof, the Evanston defendants respectfully submit the following:

       1.     Pursuant to the provisions of Local Rule 40.4, two cases may be considered

“related” and therefore transferred to the calendar of one judge in this District when the

cases “involve some of the same issues of fact and law,” or “grow out of the same

transaction or occurrence.” Local Rule 40.4(a)(2) and (3).
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       2.     In this instance, both of the subject cases, 08 C 603 and 08 C 2988, meet the

definitions of the above-cited provisions of the Local Rules.

              a.     The plaintiffs in each of these cases were both employed by the City

       of Evanston Police Department at the time of the occurrences at issue -- in

       particular the contact between plaintiffs Horemis (08 C 603) and Yorty (08 C

       2988) and one Sayyid Qadri which occurred in the City of Evanston’s police

       station on March 10, 2004.

              b.     The subsequent criminal prosecutions in the Circuit Court of Cook

       County against Horemis and Yorty arising from actions taken by these individuals

       during the incident with Qadri form the gravamen of both civil complaints which

       are pending in the Northern District.

              c.     Indeed, the causes of action in the two complaints are in many

       respects identical. Compare 08 C 603, Doc. # 1 and 08 C 2988, Doc. # 1.

              d.     Although there does not exist complete identity in the parties in both

       cases, counsel for the defendants are identical in both cases.

       3.     These cases meet the “conditions for reassignment” set forth in the

provisions of subsection (b) of Local Rule 40.4:

              a.     both cases are pending in the Northern District of Illinois;

              b.     the handling of both cases by a single judge will clearly result in a

       substantial saving of judicial time and effort – any issues regarding discovery will

       be common to both matters, and to have two different judges ruling on anticipated

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       dispositive Rule 56 motions which will be filed (at least by the Evanston

       defendants) makes little sense;

              c.      the Horemis matter pending before this Court is in its initial pleading

       stages, with the Cook County defendants having a pending motion to dismiss,

       while the Evanston defendants having filed an answer, and this Court having sua

       sponte requested additional briefing by the parties of the subject of the applicable

       period of limitations, while in the Yorty case the defendants have not yet filed

       responsive pleadings; and

              d.      there are no issues or conflicts between the interests of the plaintiffs

       or of the defendants that would preclude this matter being resolved in a single

       judicial proceeding, whether that be a ruling on motions for summary judgment or

       a contested jury trial.

       4.     Although the defendants have not yet filed responsive pleadings in the

Yorty case, a review of the allegations of each complaint demonstrates the almost

complete commonality therein, and it is anticipated that responsive pleadings similar to

those already on file in the matter before this Honorable Court will also be filed in the

Yorty litigation.

       5.     Because this Honorable Court has pending on its calendar the lowest-

numbered of the two cases claimed to be related, the instant motion has been filed here.

       WHEREFORE, the Evanston defendants respectfully request that this Honorable

Court make a Local Rule 40.4 determination that the two cases involving the arrest of

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Sayyid Qadri and a subsequent criminal prosecution of the two plaintiffs in the Circuit

Court of Cook County are related, and that a request be made to the Executive Committee

that the Yorty case (08 C 2988) be re-assigned to the calendar of this Court for

disposition.




                                   /s/ Mark F. Smolens
                                   One of the attorneys for the Evanston defendants




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